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REALTOR
RESIDENTIAL PURCHASE AGREEMENT
It (Joint Escrow Instructions)
2 Date: 03/15/21
3 Dionisio Gonzalez (“Buyer”), hereby offers to purchase
4 8835 Ranche Destino Rd (“Property”),
5 within the city or unincorporated area of LAS VEGAS , County of CLARK 5
6 State of Nevada, Zip $9123 A.P.N.# 177-16~405-008 for the purchase price of
q $ 575,000.00 ( Five Hundred Seventy-Five Thousand dollars) (“Purchase Price”)
8 on the terms and conditions contained herein: BUYER does -OR~ X does not intend to occupy the Property as a residence.
9
Buyer’s Offer
10.1. FINANCIAL TERMS & CONDITIONS:
1] $10,000.00 A, EARNEST MONEY DEPOSIT (“EMD”) is _ presented with this offer -OR-
12 . Upon Acceptance, Eamest Money to be
13 deposited within one (1} business day from acceptance of offer (as defined in Section 23 herein} -OR-
14 _2_ business days if wired to: X Escrow Holder, | Buyer’s Broker’s Trust Account, -OR= —_Seller’s
15 Broker’s Trust Account. (NOTE: It is a felony in the State of Nevada—punishable by up to four years in prison and a
16 $5,000 fine—to write a check for which there are insufficient funds, NRS 193.130(2)(a).)
17
18 § B. ADDITIONAL DEPOSIT to be placed in escrow on or before (date) . The
19 additional deposit will-OR- will not be considered part of the EMD. (Any conditions on the additional
20 deposit should be set forth in Section 28 herein.)
21
22 «=$ 425,000 C. THIS AGREEMENT IS CONTINGENT UPON BUYER QUALIFYING FOR A NEW LOAN:
23 X Conventional, FHA, VA, — Other (specify)
24
25 = § D. THIS AGREEMENT IS CONTINGENT UPON BUYER QUALIFYING TO ASSUME THE
26 FOLLOWING EXISTING LOAN(S):
27 Conventional, FHA, VA, Other (specify)
28 Interest: Fixed rate, years—OR- Adjustable Rate, years. Seller further agrees to provide
29 the Promissory Note and the most recent monthly statement of all loans to be assumed by Buyer within FIVE
30 (5) calendar days of acceptance of offer.
31
32. § E, BUYER TO EXECUTE A PROMISSORY NOTE SECURED BY DEED OF TRUST PER TERMS
33 IN THE “FINANCING ADDENDUM" which is attached hereto.
34
35 $ 146,000 F, BALANCE OF PURCHASE PRICE (Balance of Down Payment) in Good Funds to be paid prior to
36 Close of Escrow (“COE”).
37

38 $575,000.00 G. TOTAL PURCHASE PRICE (This price DOES NOT include closing casts, prorations, or other fees
39 and costs associated with the purchase of the Property as defined herein.)

 

 

 

40
4]
Each party acknowledges that he/she has read, understood, and agrees to each and every provision of this page unless a particular paragraph is
otherwise modified by addendum or counteroffer. |
Buyer’s Name(s);, Dienisio Gonzalez BUYER(S) INITIALS; [24] / i !
Property Address:_ 8835 Rancho Destino Rd SELLER(S) INITIALS: f.5 ./ i i
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Authentisign ID: 4ASF7AAE-7DEB eG PSOE Peay! Doc 23-1 Entered 03/22/21 13:42:27 Page 2 of 11
lL 2 ADDITIONAL FINANCIAL TERMS & CONTINGENCIES:

A. NEW LOAN APPLICATION: Within Done business days of Acceptance, Buyer agrees to (1) submit a
completed loan application to a lender of Buyer’s choice and (2) furnish a preapproval letter to Seller based upon a standard
factual credit report and review of debt-to-income ratios. If Buyer fails to complete any of these conditions within the applicable
time frame, Seller reserves the right to terminate this Agreement. In such event, both parties agree to cancel the escrow and
return EMD to Buyer. Buyer shall use Buyer’s best efforts to obtain financing under the terms and conditions outlined in this
Agreement.

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B. APPRAISAL CONTINGENCY: Buyer’s obligation to purchase the property is contingent upon the property
10 appraising for not less than the Purchase Price. If after the completion of an appraisal by a licensed appraiser, Buyer receives written
11 notice from the lender or the appraiser that the Property has appraised for less than the purchase price (a “Notice of Appraised Value”)
12 Buyer may attempt to renegotiate or cancel the RPA by providing written notice to the Seller Gwith a copy of the Appraisal) no later
13. than N/A calendar days following the date of Acceptance of the RPA; whereupon the EMD shall be released to the Buyer without
14 the requirement of written authorization from Seller, IF this Residential Purchase Agreement is not cancelled, in writing on or
15 before the Appraisal Deadline, Buyer shall be deemed to have waived the appraisal contingency.

16

17 Cc. LOAN CONTINGENCY: Buyer’s obligation to purchase the property is contingent upon Buyer obtaining the
18 loan referenced in Section 1(C) or 1(D) of the RPA unless otherwise agreed in writing. Buyer shall remove the loan contingency in
19 writing, attempt to renegotiate, or cancel the RPA by providing written notice to the Seller no later than _21 calendar days
20 following the date of Acceptance of the RPA; whereupon the EMD shall be released to the Buyer without the requirement of written
21 authorization from Seller. IF this Residential Purchase Agreement is not cancelled, in writing on or before the Loan
22 Contingency Deadline, Buyer shall be deemed to have waived the loan contingency.

23

24 D. CASH PURCHASE: Within “/A_ business days of Acceptance, Buyer agrees to provide written evidence
25 from a bona fide financial institution of sufficient cash available to complete this purchase. If Buyer does not submit the written
26 evidence within the above period, Seller reserves the right to terminate this Agreement.

 

27

28 «3. SALE OF OTHER PROPERTY:

29 A. This Agreement is NOT contingent upon the sale of any property owned by the Buyer. -OR-

30 B. (if checked): The attached Contingent Upon Sale Addendum is hereby incorporated into this agreement.
31

32 4. FIXTURES AND PERSONAL PROPERTY: The following items will be transferred, free of liens, with the sale of

33 the Property with no real value unless stated otherwise herein. Unless an item is covered under Section 7(F) of this Agreement,
34 all items are transferred in an “AS IS” condition, All EXISTING fixtures and fittings including, but not limited to; electrical,
35 mechanical, lighting, plumbing and heating fixtures, ceiling fan(s), fireplace insert(s), gas logs and grates, solar power system(s),
36 _ built-in appliance(s) including ranges/ovens, window and door screens, awnings, shutters, window coverings, attached floor
37 ~—_— covering(s), television antenna(s), satellite dish(es), private integrated telephone systems, air coolers/conditioner(s), pool/spa
38 equipment, garage door opener(s)/remote control(s), mailbox, in-ground landscaping, trees/shrub(s), water softener(s), water
39 purifiers, security systems/alarm(s).

40

4] The following additional items of personal property are also included:
Washer, Dryer, Refrigerator
42

44
45
46
47
48

49

50 SMART HOME DEVICES:

5] A. This Agreement DOES NOT include the transfer of SMART Home Devices owned by the Seller. -OR-

52 B. (if checked): The attached SMART Home Device Addendum provided by seller is hereby incorporated into
33 this agreement.

54

Each party acknowledges that he/she has read, understood, and agrees to each and every prevision of this page unless a particular paragraph is

 

 

 

 

otherwise modified by addendum or counteroffer. : |

Buyer’s Name(s}: Dionisio Gonzalez BUYER(S) INITIALS: Biot i f f

Property Address; 8835 Rancho Destino Rd SELLER(S) INITIALS: ft: de} / /

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1 4, ESCROW:
2 A. OPENING OF ESCROW: The purchase of the Property shall be consummated through Escrow (“Escrow”).
3 Opening of Escrow shall take place by the end of one (1) business day after Acceptance of this Agreement (“Opening of
4 Escrow”), at Noble Title title or escrow company (“Escrow Company” or “ESCROW HOLDER”)
5 with Corina Jacques (“Escrow Officer’) (or such other escrow officer as Escrow Company may
6 assign), Opening of Escrow shall occur upon Escrow Company’s receipt of this fully accepted Agreement. ESCROW HOLDER
A is instructed to notify the Parties (through their respective Agents) of the opening date and the Escrow Number.
9 B. EARNEST MONEY: Upon Acceptance, Buyer’s EMD as shown in Section 1(A), and 1(B) if applicable, of
1 this Agreement, shall be deposited pursuant to the language in Section 1(A) and 1(B) ifapplicable.
12 Cc, CLOSE OF ESCROW: Close of Escrow (“COE”) shall be on or before 04/16/21 (date).
13. If the designated date falis on a weekend or holiday, COE shall be the next business day.
14
15 D. IRS DISCLOSURE: Seller is hereby made aware that there is a regulation that requires all ESCROW

16 HOLDERS to complete a modified 1099 form, based upon specific information known only between parties in this transaction
17 and the ESCROW HOLDER. Seller is also made aware that ESCROW HOLDER is required by federal law to provide this
18 information to the Internal Revenue Service after COE in the manner prescribed by federal law.

20 6. TITLE INSURANCE: This Purchase Agreement is contingent upon the Seller’s ability to deliver, good and
21 marketable title as evidenced by a policy of title insurance, naming Buyer as the insured in an amount equal to the purchase
22 price, furnished by the title company identified in Section 5(A). Said policy shall be in the form necessary to effectuate
23 marketable title or its equivalent and shall be paid for as set forth in Section 8(A).

25 7, BUYER’S DUE DILIGENCE: Buyer's obligation X is -OR- is not conditioned on the Buyer’s Due Diligence
26 —_ as defined in this section 7(A) below. This condition is referred to as the “Due Diligence Condition” if checked in the affirmative,
27 Sections 7 (A) through (C) shall apply; otherwise, they do not. Buyer shall have 10 calendar days following the date of
28 Acceptance of the RPA (as defined in Section 23 herein) to complete Buyer’s Due Diligence. Seller agrees to cooperate with
29 Buyer’s Due Diligence. Seller shall ensure that all necessary utilities (gas, power and water) and all operable pilot lights
30 ~=—s are on for Buyer’s investigations and through the close of escrow.

32 A. PROPERTY INSPECTION/CONDITION: During the Due Diligence Period, Buyer shall take such action
33 as Buyer deems necessary to determine whether the Property is satisfactory to Buyer including, but not limited to, whether the
34 Property is insurable to Buyer’s satisfaction, whether there are unsatisfactory conditions surrounding or otherwise affecting the
35 Property (such as location of flood zones, airport noise, noxious fumes or odors, environmental substances or hazards, whether
36 the Property is properly zoned, locality to freeways, railroads, places of worship, schools, golf courses, etc.) or any other
37 concerns Buyer may have related to the Property. During such Period, Buyer shall have the right to conduct, non-invasive/ non-
38 destructive inspection of all structural, roofing, mechanical, electrical, plumbing, heating/air conditioning, water/well/septic,
39 _ pool/spa, survey, square footage, and any other property or systems, through licensed and bonded contractors or other qualified
40 _ professionals. Seller agrees to provide reasonable access to the Property to Buyer and Buyer’s inspectors. Buyer agrees to
41 indemnify and hold Seller harmless with respect to any injuries suffered by Buyer or third parties present at Buyer’s request
42 while on Seller’s Property conducting such inspections, tests or walk-throughs. Buyer’s indemnity shall not apply to any injuries
43 suffered by Buyer or third parties present at Buyer’s request that are the result of an intentional tort, gross negligence or any
44 — misconduct or omission by Seller, Seller’s Agent or other third parties on the Property. Buyer is advised to consult with
45 —_ appropriate professionals regarding neighborhood or Property conditions, including but not limited to: schools; proximity and
46 adequacy of law enforcement; proximity to commercial, industrial, or agricultural activities; crime statistics, fire protection,
47 other governmental services; existing and proposed transportation; construction and development; noise or odor from any
48 — source; and other nuisances, hazards or circumstances. If Buyer cancels this Agreement due to a specific inspection report,
49 Buyer shall provide Seller at the time of cancellation with a copy of the report containing the name, address, and telephone
20 number of the inspector.

52 B. BUYER’S RIGHT TO CANCEL OR RESOLVE OBJECTIONS: If Buyer determines, in Buyer’s sole
53 discretion, that the results of the Due Diligence are unacceptable, Buyer may either: (i) no later than the Due Diligence Deadline
54 referenced in Section 7, cancel the Residential Purchase Agreement by providing written notice to the Seller, whereupon the
55 Eamest Money Deposit referenced in Section 1(A) shall be released to the Buyer without the requirement of further written
56 authorization from Seller; or (ii) no later than the Due Diligence Deadline referenced in Section 7, resolve in writing with Seller
57 — any objections Buyer has arising from Buyer’s Due Diligence.

 

 

 

 

 

58
Each party acknowledges that he/she has read, understood, and agrees to each and every provision of this page unless a particular paragraph is
otherwise modified by addendum or counteroffer. [: |
ta Diont
Buyer’s Name(s};__Dionisio Gonzalez BUYER(S) INITIALS: i / i
Property Address;__8835 Rancho Destino Rd SELLER(S) INITIALS: /h: Su i !
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Cc. FAILURE TO CANCEL OR RESOLVE OBJECTIONS: If Buyer fails to cancel the Residential Purchase
Agreement or fails to resolve in writing with Seller any objections Buyer has arising from Buyer’s Due Diligence,
as provided in Section 7, Buyer shall be deemed to have waived the Due Diligence Condition.

BUYER(S) INITIALS: se i i i

 

D. INSPECTIONS: Acceptance of this offer is subject to the following reserved right. Buyer may have the
Property inspected and select the licensed contractors, certified building inspectors and/or other qualified professionals who will
inspect the Property. Seller will ensure that necessary utilities (gas, power and water and ail operable pilot lights) are turned on
and supplied to the Property within two (2) business days after Acceptance of this Agreement, to remain on until COE. Jf is
strongly recommended that Buyer retain licensed Nevada professionals to conduct inspections. If any inspection is not
completed and requested repairs are not delivered to Seller within the Due Diligence Period, Buyer is deemed to have waived
the right to that inspection and Seller’s liability for the cost of all repairs that inspection would have reasonably identified had
it been conducted, except as otherwise provided by law. The foregoing expenses for inspections will be paid outside of Escrow
unless the Parties present instructions to the contrary prior to COE, along with the applicable invoice.

(Identify which party shall pay for the inspection noted below either: SELLER, BUYER, 50/50, WAIVED or N/A.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Type Paid By Type Paid By Type Paid By
. : Fungal Contaminant . .
Energy Audit N/A Inspection N/A Well Inspection (Quantity) N/A
Home Inspection Buyer Mechanical Inspection N/A Well Inspection (Quality) N/A
. . : Wood-Buming Device/
Termite/Pest Inspection N/A Pool/Spa Inspection N/A Chinmey Inspection N/A
Roof Inspection N/A Soils Inspection N/A Septic Inspection Buyer
Septic Lid Removal Seller Septic Pumping N/A Structural Inspection N/A
Survey (type): Other: Other:
N/A N/A N/A N/A N/A N/A
E. CERTIFICATIONS: In the event an inspection reveals areas of concern with the roof, septic system, well,

wood burning device/chimney or the possible presence of a fungal contaminant, Buyer reserves the right to require a
certification. The expenses for certifications will be paid outside of Escrow unless the Parties present instructions to the contrary
prior to COE (along with the applicable invoice). A certification is not a warranty.

F. BUYER’S REQUEST FOR REPAIRS: It is Buyer’s responsibility to inspect the Property sufficiently as
to satisfy Buyer’s use. Buyer reserves the right to request repairs, based upon the Seller’s Real Property Disclosure or items
which materially affect value or use of the Property revealed by an inspection, certification or appraisal. Items ofa general
maintenance or cosmetic nature which do not materially affect value or use of the Property, which existed at the time of
Acceptance and which are not expressly addressed in this Agreement are deemed accepted by the Buyer, except as otherwise
provided in this Agreement. The Brokers herein have no responsibility to assist in the payment of any repair, correction or
deferred maintenance on the Property which may have been revealed by the above inspections, agreed upon by the Buyer and
Seller or requested by one party.

 

 

 

 

 

 

 

 

 

 

 

8. FEES, AND PRORATIONS (Identify which party shall pay the costs noted below either: SELLER, BUYER, 30/50,
WAIVED or N/A.) *
A. TITLE, ESCROW & APPRAISAL FEES:
Type Paid By Type Paid By Type Paid By
Escrow Fees 50/50 Lender’s Title Policy Buyer Owner's Title Policy Seller
Real Property Transfer Tax Seller Appraisal Buyer vee N/A
B. PRORATIONS: Any and all rents, taxes, interest, homeowner association fees, trash service fees, payments

on bonds, SIDs, LIDs, and assessments assumed by the Buyer, and other expenses of the property shall be prorated as of the
date of the recordation of the deed. Security deposits, advance rentals or considerations involving future lease credits shall be
credited to the Buyer. All prorations will be based on a 30-day month and will be calculated as of COE. Prorations will be based
upon figures available at closing. Any supplements or adjustments that occur after COE will be handled by the parties outside
of Escrow.

Each party acknowledges that he/she has read, understood, and agrees te each and every provision of this page unless a particular paragraph is
otherwise modified by addendum or counteroffer. :

Dionisio Gonzalez BUYER(S) INITIALS: Wt] / / /
Property Address; 8835 Rancho Destino Rd SELLER(S) INITIALS: {4.5 ./ i /

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Buyer's Name(s):

 

 

 

 

 
  
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1 Cc. PRELIMINARY TITLE REPORT: Within ten (10) business days of Opening of Escrow, Title Company
2 shall provide Buyer with a Preliminary Title Report (“PTR”) to review, which must be approved or rejected within five (5)
3 business days of receipt thereof. If Buyer does not object to the PTR within the period specified above, the PTR shall be deemed
4 accepted. If Buyer makes an objection to any item(s) contained within the PTR, Seller shall have five (5) business days after
5 receipt of objections to correct or address the objections. If, within the time specified, Seller fails to have each such exception
6 removed or to correct each such objection, Buyer shall have the option to: (a) terminate this Agreement by providing notice to
7 Seller and Escrow Officer, entitling Buyer to a refund of the EMD or (b) elect to accept title to the Property as is. All title
8 exceptions approved or deemed accepted are hereafter collectively referred to as the “Permitted Exceptions.”

9
10 D. CLOSING FEES: In addition to Seller’s expenses identified herein, Seller will contribute
11 3 N/A to Buyer’s Lender’s Fees including -OR- _—_ excluding costs which Seller must pay pursuant

12. to loan program requirements, Title and Escrow Fees and/or Buyer’s reoccurring and non-recccurring closing fees that may
13 include brokerage Commissions not covered as part of the cooperation offered but not limited to. Different loan types (e.g.,
14. FHA, VA, conventional) have different appraisal and financing requirements, which will affect the parties’ rights and costs
15 under this Agreement.

 

16

17 E. HOME PROTECTION PLAN: Buyer and Seller acknowledge that they have been made aware of Home
18 Protection Plans that provide coverage to Buyer after COE. Buyer X waives-OR- _ requires a Home Protection Plan with
19 . Seller -OR- Buyer will pay for the Home Protection
20 ~—s«~ Plan ata price not to exceed $ . Buyer will order the Home Protection Plan. Neither Seller nor Brokers make
21 any representation as to the extent of coverage or deductibles of such plans.

22

23009, TRANSFER OF TITLE: Upon COE, Buyer shall tender to Seller the agreed upon Purchase Price, and Seller shall

24 — tender to Buyer marketable title to the Property free of all encumbrances other than (1) current real property taxes, (2) covenants,
25 conditions and restrictions (CC&R’s) and related restrictions, (3) zoning or master plan restrictions and public utility easements;
26 and (4) obligations assumed, and encumbrances accepted by Buyer prior to COE. Buyer is advised the Property may be
27 reassessed after COE which may result in a real property tax increase or decrease.

29 10. COMMON-INTEREST COMMUNITIES: If the Property is subject to a Common Interest Community (“CIC”),
30 Seller shall provide AT SELLER’S EXPENSE the CIC documents as required by NRS 116.4109 (collectively, the “resale
31 package”). Seller shall request the resale package within two (2) business days of Acceptance and provide the same to Buyer
32 within one (1) business day of Seller’s receipt thereof.

 

 

 

 

 

 

 

 

 

 

 

 

 

33
34 * Pursuant to NRS 116.4109, Buyer may cancel this Agreement without penalty until midnight of the fifth (th)
35 ealendar day following the date of receipt of the resale package. If Buyer elects to cancel this Agreement pursuant
36 to this statute, he/she must deliver, via hand delivery, prepaid U.S. mail, or electronic transmission, a written notice of
37 cancellation to Seller or his or her authorized agent.
38 ¢ If Buyer does not receive the resale package within fifteen (15) calendar days of Acceptance, this Agreement
3 may be cancelled in full by Buyer without penalty. Notice of cancellation shall be delivered pursuant to Section 24
40 of the RPA.
4] ¢ Upon such written cancellation, Buyer shall promptly receive a refund of the EMD. The parties agree to execute any
42 documents requested by ESCROW HOLDER to facilitate the refund. If written cancellation is not received within the
43 specified time period, the resale package will be deemed approved. Seller shall pay all outstanding CIC fines or
Ad penalties at COE.
45
46 A. CIC RELATED EXPENSES: (Identify which party shall pay the costs noted below either: SELLER,
47 BUYER, 50/50, WAIVED or N/A.)
48
Type Paid By Type Paid By Type Paid By
CiC Demand N/A CIC Capital Contribution N/A CIC Transfer Fee/Setup Fee N/A
N/A N/A N/A N/A N/A N/A
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Each party acknowledges that he/she has read, understood, and agrees to each and every provision of this page unless a particular paragraph is

 

otherwise modified by addendum or counteroffer. : |
Buyer’s Name(s):__ Dionisio Gonzalez BUYER(S) INITIALS: [2] / i {
Property Address:__ 8835 Rancho Destino Rd SELLER(S} INITIALS: A. -/ : i

 

 

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1 11. DISCLOSURES: Within five (5) calendar days of Acceptance of this Agreement, Seller will provide the following
2 Disclosures and/or documents. Check applicable boxes.
3 xX Seller Real Property Disclosure Form: (NRS 113.130)
4 Open Range Disclosure: (NRS 113.065)
5 Construction Defect Claims Disclosure: If Seller has marked “Yes” to Paragraph 1(d) of the Sellers Real
6 Property Disclosure Form (NRS 40.688)
7 Lead-Based Paint Disclosure and Acknowledgment: required if constructed before 1978 (24 CFR 745.113)
§ xX Other: (list) N/a :
9
10 12, FEDERAL FAIR HOUSING COMPLIANCE AND DISCLOSURES: Ali properties are offered without regard to
1] race, color, religion, sex, national origin, age, gender identity or expression, familial status, sexual orientation, ancestry, or
12 handicap and any other cwrent requirements of federal or state fair housing laws.
13
14 13. WALK-THROUGH INSPECTION OF PROPERTY: Buyer is entitled under this Agreement to a walk-through of
15 the Property within 3 _ calendar days prior to COE to ensure the Property and all major systems, appliances, heating/cooling,
16 plumbing and electrical systems and mechanical fixtures are as stated in Seller’s Real Property Disclosure Statement, and that
17 the Property and improvements are in the same general condition as when this Agreement was Accepted by Seller and Buyer.
18 — To facilitate Buyer’s walk-through, Seller is responsible for keeping all necessary utilities on, including all operable pilot lights.
19 If any systems cannot be checked by Buyer on walk-through due to non-access or no power/gas/water, then Buyer reserves the
20 right to hold Seller responsible for defects which could not be detected on walk-through because of lack of such access or
21 power/gas/water. The purpose of the walk-through is to confirm (a) the Property is being maintained (b) repairs, if any, have
22 been completed as agreed, and (c) Seller has complied with Seller’s other obligations. If Buyer elects not to conduct a walk-
23 through inspection prior to COE, then all systems, items and aspects of the Property are deemed satisfactory, and Buyer
24 releases Seller’s liability for costs of any repair that would have reasonably been identified by a walk-through inspection,
25 except as otherwise provided by law.
26
27 14. DELIVERY OF POSSESSION: Seller shall deliver the Property along with any keys, alarm codes, garage door
28 — opener/controls and, if freely transferable, parking permits and gate transponders outside of Escrow, upon COE. Seller agrees
29 to vaeate the Property and leave the Property in a neat and orderly, broom-clean condition and tender possession no later than
30 x COE -OR- . In the event Seller does not vacate the Property by this time, Seller shall be
31 considered a trespasser in addition to Buyer’s other legal and equitable remedies. Any personal property left on the Property
32 after the date indicated in this section shall be considered abandoned by Seller.
33
34s 152. RISK OF LOSS: Risk of loss shall be governed by NRS 113.040. This law provides generally that if all or any
35 material part of the Property is destroyed before transfer of legal title or possession, Seller cannot enforce the Agreement and
36 Buyer is entitled to recover any portion of the sale price paid. If legal title or possession has transferred, risk of loss shall shift
37 ~—s to Buyer.
38
39 16. ASSIGNMENT OF THIS AGREEMENT: Unless otherwise stated herein, this Agreement is non-assignable
40 — wnless agreed upon in writing by all parties.
4]
42 17, CANCELLATION OF AGREEMENT: In the event this Agreement is properly cancelled in accordance with the
43 terms contained herein, then Buyer will be entitled to a refund of the EMD. Neither Buyer nor Seller will be reimbursed for any
44 expenses incurred in conjunction with due diligence, inspections, appraisals or any other matters pertaining to this transaction
45 (unless otherwise provided herein or except as otherwise provided by law).
46
47 18. DEFAULT:
48 A. MEDIATION: Before any legal action is taken to enforce any term or condition under this Agreement, the
49 parties agree to engage in mediation, a dispute resolution process, through a mediator mutually agreed upon by the parties.
50 Mediation fees, if any, shall be divided equally among the parties involved, Notwithstanding the foregoing, in the event the
51 Buyer finds it necessary to file a claim for specific performance, this section shall not apply. Each party is encouraged to have
52 an independent lawyer of their choice review this mediation provision before agreeing thereto. By initialing below, the parties
53 confirm that they have read and understand this section and voluntarily agree to the provisions thereof.
54
55 BUYER(S) INITIALS: [ova / / / SELLER(S) INITIALS: AS! i /
Each party acknowledges that he/she has read, understood, and agrees to each and every provision of this page unless a particular paragraph is
otherwise modificd by addendum or counteroffer. : i
Buyer’s Name(s):__ Dionisio Gonzalez BUYER(S) INITIALS: [Péan!} / / !
Property Address: 8835 Rancho Destino Rd SELLER({S) INITIALS: de | i {
Rey. 12.20 ©2020 Greater Las Vegas Association of REALTORS® Page 6 of 1]

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B. IF SELLER DEFAULTS: If Seller defaults in performance under this Agreement, Buyer reserves all legal
and/or equitable rights (such as specific performance) against Seller, and Buyer may seek to recover Buyer’s actual damages
incurred by Buyer duc to Seller’s default.

Cc. IF BUYER DEFAULTS: Hf Buyer defaults in performance under this Agreement, as Seller’s sole legal
recourse, Seller may retain, as liquidated damages, the EMD. In this respect, the Parties agree that Seller’s actual damages would
be difficult to measure and that the EMD is in fact a reasonable estimate of the damages that Seller would suffer as a result of
Buyer’s default. Seller understands that any additional deposit not considered part of the EMD in Section 1(B) herein will be
immediately released by ESCROW HOLDER to Buyer.

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Instructions to Escrow

 

 

 

Li 19, ESCROW: If this Agreement or any matter relating hereto shall become the subject of any litigation or controversy,
i2 Buyer and Seller agree, jointly and severally, to hold ESCROW HOLDER free and harmless from any loss or expense, except
13 losses or expenses as may arise from ESCROW HOLDER’S negligence or willful misconduct. If conflicting demands are made
14. or notices served upon ESCROW HOLDER with respect to this Agreement, the parties expressly agree that Escrow is entitled
15 to file a suit in interpleader and obtain an order from the Court authorizing ESCROW HOLDER to deposit all such documents
16 and monies with the Court and obtain an order from the Court requiring the parties to interplead and litigate their several claims
17. and rights among themselves. Upon the entry of an order authorizing such Interpleader, ESCROW HOLDER shall be fully
18 released and discharged from any obligations imposed upon it by this Agreement; and ESCROW HOLDER shall not be liable
19 for the sufficiency or correctness as to form, manner, execution or validity of any instrument deposited with it, nor as to the
20 identity, authority or rights of any person executing such instrument, nor for failure of Buyer or Seller to comply with any of
21 the provisions of any agreement, contract or other instrument filed with ESCROW HOLDER or referred to herein. ESCROW
22 HOLDER’S duties hereunder shall be limited to the safekeeping of all monies, instruments or other documents received by it
23. as ESCROW HOLDER, and for their disposition in accordance with the terms of this Agreement. In the event an action is
24 instituted in connection with this escrow, in which ESCROW HOLDER is named as a party or is otherwise compelled to make
25 an appearance, all costs, expenses, attorney fees, and judgments ESCROW HOLDER may expend or incur in said action, shall
26 be the responsibility of the parties hereto.

27

28 = 20. UNCLAIMED FUNDS: In the event that funds from this transaction remain in an account, held by ESCROW
29 HOLDER, for such a period of time that they are deemed “abandoned” under the provisions of Chapter 120A of the Nevada
30 —_- Revised Statutes, ESCROW HOLDER is hereby authorized to impose a charge upon the dormant escrow account. Said charge
31 shall be no less than $5.00 per month and may not exceed the highest rate of charge permitted by statute or regulation. ESCROW
32 HOLDER is further authorized and directed to deduct the charge from the dormant escrow account for as long as the funds are
33 ~—s held by ESCROW HOLDER.

34

 

Brokers

 

 

 

35 21. BROKER’S COMPENSATION/FEES: Buyer herein requires, and Seller agrees, as a condition of this Agreement,
36 _ that Seller will pay Listing Broker and Buyer’s Broker, who becomes by this clause a third-party beneficiary to this Agreement,
37. that certain sum and/or percentage of the Purchase Price (commission), that Seller, or Seller's Broker, offered for the
38 procurement of ready, willing and able Buyer via the Multiple Listing Service, any other advertisement or written offer. Seller
39 understands and agrees that if Seller defaults hereunder, Buyer’s Broker, as a third-party beneficiary of this Agreement, has the
40 right to pursue all legal recourse against Seller for any commission due. In addition to any amount due to Buyer’s Broker
4] from Seller or Seller’s Broker, Buyer — will -OR- X will not pay Buyer’s Broker additional compensation in an
42 amount determined between the Buyer and Buyer’s Broker.

43

44 22, HOLD HARMLESS AND WAIVER OF CLAIMS: Buyer and Seller agree that they are not relying upon any
45 — representations made by Brokers or Broker’s agent. Buyer acknowledges that at COE, the Property will be sold AS-IS, WHERE-
46 IS without any representations or warranties, unless expressly stated herein. Buyer agrees to satisfy himself/herself, as to the
47 condition of the Property, prior to COE. Buyer acknowledges that any statements of acreage or square footage by Brokers are
48 simply estimates, and Buyer agrees to make such measurements, as Buyer deems necessary, to ascertain actual acreage or square
49 footage. Buyer waives all claims against Brokers or their agents for (a) defects in the Property; (b) inaccurate estimates of

50

Each party acknowledges that he/she has read, understood, and agrees to each and every provision of this page unless a particular paragraph is

 

 

 

 

otherwise modified by addendum or counteroffer. [: ;

Buyer’s Name(s);__ Dionisio Gonzalez BUYER(S) INITIALS; 24 / t |
Property Address:_8835 Rancho Destino Rd SELLER(S) INITIALS: /4,4,/ / !

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1 acreage or square footage; (c) environmental waste or hazards on the Property; (d) the fact that the Property may be in a flood
zone; (e) the Property’s proximity to freeways, airports or other nuisances; (f) the zoning of the Property; (g) tax consequences;
or (h) factors related to Buyer’s failure to conduct walk-throughs or inspections. Buyer assumes full responsibility for the
foregoing and agrees to conduct such tests, walk-throughs, inspections and research, as Buyer deems necessary. In any event,
Broker’s liability is limited, under any and all circumstances, to the amount of that Broker’s commission/fee received in this
transaction.

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Other Matters

 

 

 

9 (23. DEFINITIONS: “Acceptance” means the date that both parties have consented to a final, binding contract by affixing
10 their signatures to this Agreement and all counteroffers and said Agreement and all counteroffers have been delivered to both
Il parties pursuant to Section 24 herein. “Agent” means a licensee working under a Broker or licensees working under a developer.
12 “Agreement” includes this document as well as all accepted counteroffers and addenda. “Appraisal” means a written appraisal
13 or Notice of Value as required by any lending institution prepared by a licensed or certified professional. “Bona Fide” means
14 = genuine, “Buyer” means one or more individuals or the entity that intends to purchase the Property. “Broker” means the
15 Nevada licensed real estate broker listed herein representing Seller and/or Buyer (and all real estate agents associated therewith).
16 “Business Day” excludes Saturdays, Sundays, and legal holidays. “Calendar Day” means a calendar day from/to midnight
17 unless otherwise specified. “CFR” means the Code of Federal Regulations. “CIC” means Common Interest Community
18 (formerly known as “HOA” or homeowners associations). “CIC Capital Contribution” means a one-time non-administrative
19 fee, cost or assessment charged by the CIC upon change of ownership. “CIC Transfer Fees” means the administrative service
20 fee charged by a CIC to transfer ownership records. “Close of Escrow (COE)” means the time of recordation of the deed in
21 Buyer’s name. “Default” means the failure ofa Party to observe or perform any of its material obligations under this Agreement.
22 “Delivered” means personally delivered to Parties or respective Agents, transmitted by facsimile machine, electronic means,
23 overnight delivery, or mailed by regular mail. “Down Payment” is the Purchase Price less loan amount(s). “EMD” means
24  Buyer’s earnest money deposit. “Escrow Holder” means the neutral party that will handle the closing. “FHA” is the U.S.
25 +‘ Federal Housing Administration. “GLVAR” means the Greater Las Vegas Association of REALTORS®. “Good Funds”
26 means an acceptable form of payment determined by ESCROW HOLDER in accordance with NRS 645A.171, “IRC” means
27.‘ the Internal Revenue Code (tax code). “LID” means Limited Improvement District. “N/A” means not applicable. “NAC”
28 means Nevada Administrative Code. “NRS” means Nevada Revised Statues as Amended. “Party” or “Parties” means Buyer
29 and Seller. “PITI” means principal, interest, taxes, and hazard insurance. “PMI” means private mortgage insurance. “PST”
30 means Pacific Standard Time and includes daylight savings time if in effect on the date specified. “PTR” means Preliminary
31 Title Report. “Property” means the real property and any personal property included in the sale as provided herein, “Receipt”
32 means delivery to the party or the party’s agent. “RPA” means Residential Purchase Agreement. “SeHer” means one or more
33 individuals or the entity that is the owner of the Property. “SID” means Special Improvement District. “Title Company” means
34 the company that will provide title insurance. “USC” is the United States Code. “WA” is the Veterans Administration.

35

36024, SIGNATURES, DELIVERY, AND NOTICES:

37 A. This Agreement may be signed by the parties on more than one copy, which, when taken together, each signed
38 copy shall be read as one complete form. This Agreement (and documents related to any resulting transaction) may be signed
39 by the parties manually or digitally. Facsimile signatures may be accepted as original.

A0

4] B. When a Party wishes to provide notice as required in this Agreement, such notice shall be sent regular mail,
42 _ personal delivery, overnight delivery, by facsimile, and/or by electronic transmission to the Agent for that Party, The notification
43 shall be effective when postmarked, received, faxed, delivery confirmed, and/or read receipt confirmed in the case of email.
44 Delivery of all instruments or documents associated with this Agreement shall be delivered to the Agent for Seller or Buyer if
45 represented, Any cancellation notice shall be contemporaneously delivered to Escrow in the same manner.

46

47 25. IRC 1031 EXCHANGE: Seller and/or Buyer may make this transaction part of an IRC 1031 exchange. The party
48 electing to make this transaction part of an IRC 1031 exchange will pay all additional expenses associated therewith, at no cost
49 to the other party. The other party agrees to execute any and all documents necessary to effectuate such an exchange

50

51

Each party acknowledges that he/she has read, understood, and agrees to each and every provision of this page unless a particular paragraph is

 

 

 

 

 

otherwise modified by addendum or counteroffer. : |

Buyer’s Name(s);__ Dionisio Gonzalez BUYER(S) INITIALS: L2#") ; / [
Property Address:_ 8835 Rancho Destino Rd SELLER(S) INITIALS: {Mt fg! / /

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26. HUD/VA/FHA ESCAPE CLAUSE: “It is expressly agreed that, notwithstanding any other provisions of this
contract, the purchaser shall not be obligated to complete the purchase of the property described herein or incur any penalty by
forfeiture of earnest money or otherwise unless the purchaser has been given, in accordance with HUD/FHA or VA
requirements, a written statement issued by the Federal Housing Commissioner, Department of Veterans Affairs, or a Direct
Endorsement Lender setting forth the appraised value of the property of not less that the agreed upon contract purchase price.
The purchaser shall, however, have the privilege and option of proceeding with the consummation of this contract without
regard to the amount of the appraised valuation. The appraised valuation is arrived at to determine the maximum mortgage the
Department of Housing and Urban Development will insure or percent the Department of Veterans Affairs will guarantee.
HUD/FHA or VA does not warrant the value or condition of the property, The purchaser should satisfy himself/herself that
the price and condition of the property are acceptable.

27. OTHER ESSENTIAL TERMS: Time is of the essence. No change, modification or amendment of this Agreement
shall be valid or binding unless such change, modification or amendment shall be in writing and signed by each party. This
Agreement will be binding upon the heirs, beneficiaries and devisees of the parties hereto. This Agreement is executed and
intended to be performed in the State of Nevada, and the laws of that state shall govern its interpretation and effect. The parties
agree that the county and state in which the Property is located is the appropriate forum for any action relating to this Agreement.
Should any party hereto retain counsel for the purpose of initiating litigation to enforce or prevent the breach of any provision
hereof, or for any other judicial remedy, then the prevailing party shall be entitled to be reimbursed by the losing party for all
costs and expenses incurred thereby, including, but not limited to, reasonable attorney’s fees and costs incurred by such
prevailing party.

THIS IS A LEGALLY BINDING CONTRACT. All parties are advised to seek independent legal
and tax advice to review the terms of this Agreement.

THIS FORM HAS BEEN APPROVED BY THE GREATER LAS VEGAS ASSOCIATION OF REALTORS®
(GLVAR). NO REPRESENTATION IS MADE AS TO THE LEGAL VALIDITY OR ADEQUACY OF ANY
PROVISION IN ANY SPECIFIC TRANSACTION, A REAL ESTATE BROKER IS THE PERSON QUALIFIED TO
ADVISE ON REAL ESTATE TRANSACTIONS. IF YOU DESIRE LEGAL OR TAX ADVICE, CONSULT AN
APPROPRIATE PROFESSIONAL.

28, ADDENDUM(S) ATTACHED:
N/A

29, ADDITIONAL TERMS:

N/A

N/A

N/A

N/A

Each party acknowledges that he/she has read, understood, and agrees to cach and every provision of this page unless a particular paragraph is

 

 

 

otherwise modified by addendum or counteroffer. i; i

Buyer’s Namefs):__ Dionisio Gonzalez BUYER(S) INITIALS: #4} ! i

Property Address; 8835 Rancho Destino Rd SELLER(S) INITIALS: _/f ef ! /

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Confirmation of Agency:

In the event any party to the real estate transaction is also represented by another licensee who is affiliated with the same
Company, the Broker may assign a licensee to act for each party, respectively. As set forth within the Duties Owed form, no
confidential information will be disclosed. Thisis -OR-is not X such a transaction.

 

| Buyer's Acknowledgement of Offer

Confirmation of Representation: The Buyer is represented in this transaction by:

 

 

 

 

 

 

 

Buyer’s Broker: George Kypreos Agent’s Name: Rick Ruiz
Company Name: GK Properties Agent’s License Number: §4121

Broker’s License Number: 1001699 Office Address: 9555 S Eastern Ave #220

Phone: 702-290-466 City, State, Zip: Las Vegas NV 89123
Fax: 702-852-0932 Email: Rick@RuizLV.com

 

 

BUYER LICENSEE DISCLOSURE OF INTEREST: Pursuant to NRS 645,.252(1)}(c), a real estate licensee must disclose
if he/she is a principal in a transaction or has an interest in a principal to the transaction. Licensee declares that he/she:

X DOES NOT have an interest in a principal to the transaction. -OR- | DOES have the following interest, direct or indirect,
in this transaction: Principal (Buyer) -OR- family or firm relationship with Buyer or ownership interest in Buyer (if
Buyer is an entity): (specify relationship)

 

 

Seller must respond by: 6 ( AM X¥PM)on(month) March (day) 17 , (year)__2021_. Unless this
Agreement is accepted, rejected or countered below and delivered to the Buyer’s Broker before the above date and time,
this offer shall lapse and be of no further force and effect. Upon Acceptance, Buyer agrees to be bound by each provision

of this Agreement, and all signed addenda, disclosures, and attachments.
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: AM PM

Buyer’s Signature Buyer’s Printed Name Date Time
: AM PM

Buyer’s Signature Buyer’s Printed Name Date Time
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Buyer’s Signature Buyer’s Printed Name Date Time

Each party acknowledges that he/she has read, understood, and agrees to each and every provision of this page uniess a particular paragraph is

 

 

 

 

 

otherwise modified by addendum or counteroffer. f i

Buyer’s Name(s); Dionisio Gonzalez BUYER(S) INITIALS: i i i

Property Address; 8835 Rancho Destino Rd SELLER(S) INITIALS: HM bu ! /

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Seller’s Response

 

 

 

Confirmation of Representation: The Seller is represented in this transaction by:

 

 

 

 

 

 

 

 

Seller’s Broker: i eee’s t Dar b £e_ Agent’s Name: Stephanie Salazar
Company Name: BHHS Nevada Properties Agent’s License Number: §.0187302

Broker’s License Number: RB. oosS 4946 Office Address: 8850 W Sunset Rd Ste 200

Phone: 702-493-9889 City, State, Zip: Las Vegas NV 89148
Fax: 702-868-7155 Email: stephsalazarlv@gmail.com

 

 

SELLER LICENSEE DISCLOSURE OF INTEREST: Pursuant to NRS 645.252(1)(c), a real estate licensee must disclose
if he/she is a principal in a transaction or has an interest in a principal to the transaction. Licensee declares that he/she:

X DOES NOT have an interest in a principal to the transaction. -OR- DOES have the following interest, direct or indirect,
in this transaction: Principal (Seller) -OR- _ family or firm relationship with Seller or ownership interest in Seller (if
Seller is an entity): (specify relationship)

 

FIRPTA: If applicable (as designated in the Seller’s Response herein), Seller agrees to complete, sign, and deliver to Buyer’s
FIRPTA Designee a certificate indicating whether Seller is a foreign person or a nonresident alien pursuant to the Foreign
Investment in Real Property Tax Act (FIRPTA). A foreign person is a nonresident alien individual, a foreign corporation not
treated as a domestic corporation; or a foreign partnership, trust or estate. A resident alien is not considered a foreign person
under FIRPTA. Additional information for determining status may be found at www.irs.gov. Buyer and Seller understand that
if Seller is a foreign person then the Buyer must withhold a tax in an amount to be determined by Buyer’s FIRPTA Designee in
accordance with FIRPTA, unless an exemption applies. Seller agrees to sign and deliver to the Buyer’ s FIRPTA Designee the
necessary documents, to be provided by the Buyer’s FIRPTA Designee, to determine if withholding is required, (See 26 USC
Section 1445),

SELLER DECLARES that he/she ¥ is not -OR- isa foreign person therefore subjecting this transaction to FIRPTA
withholding. SELLER(S) INITIALS: M.S. / / /

x ACCEPTANCE: SeHer(s) acknowledges that he/she accepts and agrees to be bound by each provision of this Agreement,
enda, disclosures, and attachments.

COUNTER OFFER: Seller accepts the terms of this Agreement subject to the attached Counter Offer #1.

REJECTION: In accordance with NAC 645.632, Seller hereby informs Buyer the offer presented herein is not accepted.

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axe Mathieu Serre pe pear 6)

 

 

 

 

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Seller’s Signature Seller’s Printed Name Date Time
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Seller’s Signature Seller’s Printed Name Date Time

Each party acknowledges that he/she has read, understood, and agrees to each and every provision of this page unless a particular paragraph is

 

 

 

 

 

otherwise modified by addendum or counteroffer. |: |

Buyer’s Name(s):__ Dionisio Gonzalez BUYER(S) INITIALS: O™U; /

Property Address;_ 8835 Rancho Destino Rd SELLER(S) INITIALS: M,5./ / _—
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